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                                                   February 6, 2024


 Via ECF
 Hon. Kiyo A. Matsumoto, U.S.D.J.
 United States District Court, E.D.N.Y.
 225 Cadman Plaza East, Courtroom 6C-S
 Brooklyn, New York 11201


         Re:     Letter Motion for a stay of discovery pending outcome of motion
                 Case No.: 1:22-cv-05686-KAM-VMS—Lanasa, et al. v. Stiene
                 Client No: 1367-1001


 Dear Judge Matsumoto:
         This office represents the defendant Erik Stiene (“Defendant” or “Mr. Stiene”) in the
 referenced case. The parties have conferred and jointly write upon submission of this latest motion to
 dismiss requesting a stay of discovery until such time as this motion is decided.

         Since we are back to the motion to dismiss submission stage, we thought it would be prudent
 to make this request. In light of the costs of discovery already incurred, the bankruptcy proceeding
 relevant to one of the parties in this case, the issues that have burdened this Court regarding discovery
 that might be further avoided depending on the outcome of the motion, and an effort to bring down
 the temperature of this case, permitting this motion to be decided before taking further action might
 be in the best interest for all involved.

          Obviously, we are mindful that a stay of discovery during the pendency of a dispositive motion
 is discretionary. See Coughlin v. N.Y. State Unified Ct. Sys., 22-cv-04002 (FB)(JMW), 2022 U.S. Dist.
 LEXIS 181664, *4-5 (E.D.N.Y. October 4, 2022). That being said, we believe good cause is shown,
 not the least of which, the lack of prejudice since this is a joint application. Id. at *4; see also Palladino
 v. JPMorgan Chase & Co., 23-cv-1215(MKB)(JAM), 2024 U.S. Dist. LEXIS 14973,*9-10 (E.D.N.Y.
 Jan. 26, 2024); A&P v. Town of E. Hampton, 997 F.Supp. 340 (E.D.N.Y. 1998).



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FARBER SCHNEIDER FERRARI LLP
    Hon. Kiyo A. Matsumoto, U.S.D.J.
    February 6, 2024
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            In light of the foregoing, the parties jointly request a stay so that the Court may consider the
    current motion to dismiss. We appreciate the Court’s courtesy and consideration on this matter.

                                                    Respectfully submitted,
                                                    FARBER SCHNEIDER FERRARI LLP


                                                    By: _________________________
                                                            Daniel J. Schneider
    cc:     All counsel via ECF
            Hon. Vera M. Scanlon, U.S.M.J. via ECF
